74 F.3d 1235NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Jamil Naba VIRGINIA-EL, Plaintiff--Appellant,v.Donald V. LAWRENCE, Detective;  Arlington Police Department,Defendants--Appellees.
    No. 95-7557.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 11, 1996.Decided Jan. 24, 1996.
    
      Jamil Naba Virginia-El, Appellant Pro Se.
      Before RUSSELL, HALL, and WILKINSON, Circuit Judges.
    
    
      1
      Dismissed by unpublished per curiam opinion.
    
    PER CURIAM
    
      2
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court assessed a filing fee in accordance with Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee order.  Finding no abuse of discretion, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    